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“’ NORTHERN DISTRICT OF TEXAS *

 

 

 

 

 

 

IN THE UNITED STATES DISTRICT COUR FILED
FOR THE NORTHERN DISTRICT OF TEA
DALLAS DIVISION : JN Te
JEWELLEAN MOORE, PLAINTIFF : _ cE YS cami courT
VS. CASE NO.3:16CV-3362 " Bera

CRESCENT MEDICAL CENTER, ET AL., DEF.

PLAINTIFF’S REQUEST FOR RELIEF FROM THE MAGISTRATE’S
ORDER FOR IN COURT HEARING OF JUNE 7
ALTERNATIVELY PERMISSION FOR INTERLOCUTORY APPEAL
TO THE HONORABLE JUDGE OF SAID COURT:

Comes Now the Plaintiff, Jewellean Moore, pursuant@ to Rule 60(b) FRCP, Section 1292, & 1651,
28 U.S.C. in that Plaintiff request this Court Hold the ad litem Hearing Order in abeyance until a
Ruling is made regarding Plaintiff's Own Physcian’s Opinion submitted to this Court. Also, Plaintiff
Would like to show the following:

1). Defendants Attorney, Monica Bailey, did not obtain any meeting of the Mind with Plaintiff as to

The day of the Month of the Hearing. In that only the Month of June was agreed upon, Ms. Bailey, on
Her own agreed the 7" was alright. Plaintiff was notified by Counsel of this date, without Plaintiff's
input. ,

However, Plaintiff has a June 7*" Doctor’s Appointment, a follow-up on Her previous Knee Surgery, with
Dr. Charles Barnes, of UAMS Medical Center @ 9:30 AM,(Phone # 501-614-2663) in Little Rock, AR. (Atacden ),
2). Plaintiff relies on Special Paratransit for the Disable for Transportation. This Service do not extend
To Dallas, Texas. Also, Plaintiff is unable to use other Public Transportation, see attached, ’Physician

Verification of Disability, by DR. J. Deepa).

(1)
 

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due to Plaintiffs Medical disabilities, the Court should make accommodations, pursuant to the
Americans Disability Act, 12101, 42 U.S.C., and Sec. 504 Rehabilitation Act, 29 U.S.C. 701.

3). There exist credible Expert Evidence Presented from Plaintiff’s Physician to substantiate Her
Incompetency, which are ignored by the Magistrate Judge. This evidence would eviscerate the need
For Plaintiff traveling to Dallas at this juncture, and without accommodations. Plaintiff's Doctor’s
Opinion has not been refuted nor is there a controversy. There is no good cause shown that the
Judge should divorce itself from Plaintiff's Physicians Opinion in this matter.

“Relevant evidence is defined as that which has any tendency to make the existence of any fact
That is of consequence to the determination of the action probable or less probable than it would
Be without the evidence”, Beech Aircraft Corp., V. Rainey, 488 U.S. 153, 163(1988).

Rule 35(a) FRCP requires Physical or Mental examination when a controversy, and good cause shown
For the exam. In the case sub judice, the Magistrate seek to make His own determination of Plaintiff's
Mental Competence with a In Person Appearance by Plaintiff, despite the Opinion of Plaintiff’s treating
Physician, whom opinion should be accorded great weight, see; Leggett V. Chater, 67 F.#d. 558, 566-
(5" Cir. 1995); and Greenspar V. Shala, 38 F.3d 232, 237(5™ Cir. 1994), Ceert. Denied, 514 U. S. 1120,
(1995).

Furthermore, Rule 702, FRE is further proof Plaintiff's Physician’s verification is sufficient. pursuant to

Daubert V. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).

(2)
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The Magistrate failed to give any weight to Plaintiff’s Physician’s Verification of Disability
Statement submitted previously, and now attached herewith. Such statement is admissible
Pursuant to Rule 803(4), FRE. This statement is dispositive of the competency issue, and
Warrants the ex parte implementation of Rule 17(c ), or appointment of Guardian ad litem,
“prochain ami”. Judge Lynn’s Order indicates the hearing as an “Evaluation of Plaintiff's
Capacity, [sic].” Such an evaluation has already to a Medical degree of Certainty been
established, Plaintiff is the Victim of Her infirmity at this juncture.

Plaintiff's Physician is specific “that Traveling for Plaintiff is hazardous, and Lacks Competency”.
Since Paintiff’s own Physician is Familiar with Her Impairments, this statement is crucial to
This Case, Newton V. Apfel, 209 F.3d. 448(5" Cir. 2000).

The Magistrate should protect an Unrepresented Plaintiff whom lacks competency prior
To any Inter-State travel, as per Rule 17(c )(2) FRCP. Court Order (docket # 61), is burdensome,
And discriminates against a Disable Senior, and Puts Her in imminent danger, and is contrary to
Law.

WHEREFORE PREMISES CONSIDERED, Because of Plaintiff's Doctor’s Appointment; Her Disabilities;
Plaintiff is unable to Attend the June 7" Hearing. Plaintiff request The Court Vacate or Hold in
Abeyance the Guardian ad litem Hearing until adjudication on Plaintiff's Doctor’s statement;
Alternatively Permission for Interlocutory Appeal on the Verifiable Doctor’s statement.

RESPECTFULLY SUBMITTED,

evellen Mtns. _ Dated this Zeth day of MAY 2017.

idfiellean Moore

(3)
 

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CERTIFICATE OF SERVICE:

|, Jewellean Moore, certify that a copy of the foregoing Relief from Order, is mailed to:
Monica Bailey, Attorney for Defendants this be day of Du & ,2017, by

Placing same in the United States Mail, Postage prepaid.

Aine foregoing statements are true and correct.
ivelldan Wires

[Pwellean Moore

6200 Colonel Glenn Rd #219
Little Rock, AR 72204

(4)
 

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Ms. Jewellean Moore
6200 Colonel Glenn Rd
Apt 219

LITTLE ROCK, AR 72209

5/10/2017

Dear Jewellean Moore,

This is ‘a reminder for your upcoming appointment with C. LOWRY BARNES, MD. |
Date: 6/07/17

Time:.9:30 AM

Department: UAMS Ortho Clinic -- Orthopedics

Location: Uams Orthoapedic Clinic = Shackleford Road

Visit Type: Follow Up Appointment

Instructions: Please arrive 15 minutes prior to appointment.

If for any reason you are unable to keep this appointment, please contact the office at
501-614-2663 to reschedule.

Sincerely,

Patient Service Specialist for C. LOWRY BARNES, MD
 

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hyn Links Paratransit Service
#  PARATRANSIT Physician Verification of Disability

A SERVICE OF CENTRAL ARKANSAS TRANSIT AUTHORITY

 

Date

 

*** Please Note***
This form must be filled out in its entirety.
aod. . Incomplete forms will not be processed and
pop 04 O3 | 1Fs"S will be returned to the patient.

. a ,
Patient Name Mcok?é,, ieiwellen a

 

 

 

 

The person named above is ) currently being treated or CO) was formerly treated by me. The
person has informed me of his/her intent to apply for Central Arkansas TransitAuthority (CATA)
Links service. The information provided in this form is intended to verify any medical/health con-
ditions that prevent the applicant from using CATA’s fixed route bus service.

Please Check One: Physician
____ Licensed HealthCareProvider

____ Licensed Rehab/Social Worker
____ Orientation Mobility Specialist

Medical diagnosis and explanation of condition causing disability.
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Disability Status (Select One):
U)Patient will be temporarily disabled for months.

(APatient is considered permanently disabled.

Does the disability prevent the applicant from utilizing the CATA fixed route services (regular bus
service)? If yes, please describe in detail.
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FST

 

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Can the applicant walk or wheel I), mile (3 blocks) without the assistance of another person?
Oyes UWNo

Can the applicant climb three 10-inch steps with assistance? (JYes EINo

Can the applicant wait outside without support for 15 minutes? LdYes LINo
Is the applicant on dialysis? CiYes lWINo

Does the applicant have a hearing impairment? ClYes QANo

Is the applicant able to recognize a destination or landmark? ClYes EANo

Is the applicant able to give addresses and phone numbers upon request? EYes CINo

Is the applicant able to deal with unexpected situations or unexpected changes
in routine? LYes UINo

Is the applicant able to ask for, understand, and follow directions? LlYes LINo

Is the applicant able to safely and effectively travel alone through crowded and/or complex
facilities? LYes EINo

Does the applicant require a personal care attendant? Elves OINo

Based upon my professional knowledge of the applicant, I certify that the preceding information is
true and correct.

 

 

DEEPA GAYA RICH NAN 5Sowr- &JL-&S ky

Name (Please Print) Office Phone Number

Sat Pack Stephon: Oteve, iil Rock AR {2205
Office Street Address ! City State Zip Code

 

State License Number (Complete if Applicable - MUST BE CURRENT)

Signature: _ yy Date: 1) Jac

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Dallas , TH 7S P¢z

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